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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

REPUBLICAN NATIONAL COMMITTEE,          )
                                        )
      Plaintiff,                        )   Case No. 1:22-cv-00659-TJK
                                        )
v.                                      )
                                        )
NANCY PELOSI, et al.,                   )
                                        )
     Defendants.                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                                                   /

AMICUS CURIAE BRIEF OF NATIONAL REPUBLICAN SENATORIAL COMMITTEE
               IN SUPPORT OF PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION
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                      LCVR 7(O)(5) & FRAP 29(A)(4)(E) STATEMENT

       Counsel for amicus curiae certify that the National Republican Senatorial Committee has

no parent corporation, and no publicly held corporation owns ten percent or more of its stock.

       Counsel for amicus curiae certify that no counsel for a party authored any part of this brief.

No one other than amicus curiae, its members, or its counsel financed the preparation or

submission of this brief.




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                                INTEREST OF AMICUS CURIAE

        The NRSC is the national political party organization devoted to supporting and electing a

Republican U.S. Senate majority. The NRSC maintains a database on the Salesforce platform and

provides financial, data, and strategic support and assistance to current and prospective Republican

U.S. Senate candidates. Support from the NRSC for Republican candidates comes in the areas of

strategic data, budget planning, election law compliance, fundraising, communications tools and

messaging, research, and strategy. The NRSC believes that First Amendment rights of political

parties must be protected and that partisan opponents should not be allowed to infringe upon the

associational rights of political party committees, candidates, and supporters through disclosure of

strategic data.

                                          BACKGROUND

        What Richard Nixon attempted with a faked burglary, a political party is now attempting

through the January 6th Select Committee. In 1972 President Richard Nixon deployed a team of

fake burglars to break into the Watergate office complex to steal confidential strategic information

from the Democratic National Committee (“DNC”).               Fifty years later, under the guise of

Congressional committee action, the majority party is attempting to obtain its opponent’s

confidential political strategy.    Make no mistake, this partisan Congressional committee is

exploiting temporary subpoena power to investigate its political opponents through review – and

possible release – of their highly confidential strategic political data.

        The NRSC condemns political rioting and violence and, like the RNC, believes that anyone

who assaults law enforcement should be prosecuted and punished. RNC Press Release, RNC

Members Condemn Violence at U.S. Capitol, RNC (Jan. 6, 2021), https://gop.com/press-

release/rnc-members-condemn-violence-at-us-capitol/. But this case is not about violence on

January 6th; it is about the unconstitutional abuse of power a year later by one party’s politicians.

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        In theory, there might be a circumstance where a properly authorized Congressional

Committee could narrowly subpoena information from a political party that is sufficiently relevant

to a legislative purpose. But that is not the case here.        Here, one political party is using an

unauthorized Committee—with no Members appointed by Republican leadership and no minority

Ranking Member—to subpoena a broad swath of strategic and valuable data from the opposing

political party. And it is doing so without even the pretext of such information being related to a

legislative function. This is a digital-age Watergate.

        One could also imagine a circumstance in which a law enforcement agency might narrowly

subpoena information from a political party that is relevant to an ongoing criminal investigation.

But this is also not such a case. The Committee here has no law enforcement function or authority,

and it is operated not by apolitical law enforcement personnel but by Democratic politicians and

their hand-picked, ideologically aligned staffers.

        It is well established that healthy political party committees such as the NRSC and RNC

(and for that matter the Democratic Senatorial Campaign Committee and DNC) are essential to

democracy. The national political party committees form the foundation of successful political

campaigns at all levels and are crucial to officeholders’ ability to serve the public. For these

reasons, when President Nixon and his team of advisers assessed a path for most effectively

defeating his political opponents, they set their sights on obtaining the internal strategic files of the

DNC. Today, the most valuable internal files are not located in a physical file cabinet at party

headquarters. Instead, they live in digital files and on platforms such as Salesforce. Indeed, this

is why Russian computer hackers set their sights on the RNC and DNC leading up to the 2016

presidential election. In 2022, Watergate-style subversion of political opposition would be

accomplished by targeting and neutralizing the opposition’s strategic data, including the personal



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information of their supporters. For the RNC – and NRSC – such strategic and personal data is

housed on Salesforce.

       Allowing Democratic politicians and staffers to access the RNC’s (their opposition)

internal strategic data housed on Salesforce is not only toxic to our democracy, but, more

specifically, it violates the First Amendment rights of the RNC and its members and donors

because the subpoena here is not tailored to support any governmental interest, much less a

substantial interest necessary to satisfy exacting scrutiny.

                                           ARGUMENT

I.    The Salesforce Subpoena Violates the First Amendment Rights of the RNC, the
      Republican Party, and its Constituents.

       A.     Political Parties are Vital to American Democracy, and Digital Operations is
              one of their most important functions.

       It is well established that political parties play an “important and legitimate role…in

American elections.” Colorado Republican Federal Campaign Comm. v. FEC, 518 U.S. 604, 618

(1996). “Representative democracy in any populous unit of governance is unimaginable without

the ability of citizens to band together [in parties] in promoting among the electorate candidates

who espouse their political views.” California Democratic Party v. Jones, 530 U.S. 567, 574

(2000). In fact, “[t]he formation of national political parties was almost concurrent with the

formation of the Republic itself.” Id.

       In McConnell v. FEC 251 F. Supp. 2d 176, 820-821 (2003) (internal quotations omitted)

this Court stipulated four vital roles political parties play in maintaining a stable constitutional

order within democracy. First, “parties have coordinated and reconciled various national, state,

and local entities within our federal system of government.” Id. at 820. Second, “parties encourage

‘democratic nationalism’ by nominating and electing candidates and by engaging in discussion

about public policy issues of national importance.” Id. This democratic nationalism is fostered by

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parties’ efforts to “recruit and nominate candidates, aggregate public preferences and provide a

means of democratic accountability.” Id. Democratic nationalism is further bolstered by parties’

pursuit of “increasing voter turnout, encouraging volunteer grassroots political participation,

fostering broader electoral competition by supporting challengers against incumbents, and diluting

the influence of organized interests.” Id. Third, “parties act as critical agents in developing

consensus in the United States.” Id. at 821. “No other group could come close to political parties

in moderating extreme views.” Id. And finally, parties “cultivate a sense of community and

collective responsibility in American political culture” and are “integral in forming a consensus

on publicly divisive issues.” Id.

       Over the last 20 years, political parties have increasingly fulfilled these crucial roles

through digital fundraising and communications. In 2022, political parties have entire digital

departments dedicated to communicating with their supporters through e-mails, text messages, and

social media. The political party committees are among the main players in the digital space

because, unlike campaign committees, political party infrastructure lasts beyond any given election

cycle. The party committees therefore provide irreplaceable expertise and institutional knowledge

to support the party’s candidates for election and conduct digital fundraising and communications

to advance the party’s electoral prospects and policy agenda.

       B.     The Salesforce Subpoena Violates the First Amendment by Attempting to
              Obtain the RNC’s Entire Digital Strategy.

       Like individuals and corporations, political parties have constitutional rights, including

freedom of speech and association. Courts have repeatedly held that the First Amendment protects

“a political party’s discretion in how to organize itself, conduct its affairs and select its leaders.”

Eu. v. San Francisco Cnty. Democratic Cent. Comm., 489 U.S. 214, 230 (1989); see also Tashijan

v. Republican Party of Conn., 479 U.S. 208, 224 (1986) (“The Party’s determination of the


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boundaries of its own association, and of the structure which best allows it to pursue its political

goals, is protected by the Constitution.”); Buckley v. Valeo, 424 U.S. 1, 64 (1976) (“We have long

recognized that significant encroachments on First Amendment rights of the sort that compelled

disclosure imposes cannot be justified by a mere showing of some government interest.”). As the

Court of Appeals for the District of Columbia Circuit has explained, “a party’s choice, as among

various ways of governing itself, of the one which seems best calculated to strengthen the party

and advance its interests, deserves the protection of the Constitution.... [T]here must be a right not

only to form political associations but to organize and direct them in the way that will make them

most effective.” Ripon Society, Inc. v. National Republican Party, 525 F.2d 567, 585 (D.C. Cir.

1975) (en banc), cert. denied, 424 U.S. 933 (1976) (emphasis deleted). Because of the essential

role parties play in American democracy, and the fact their core function is political speech, the

constitutional rights of party committees such as the RNC must be guarded with special care.

       One of a political party committee’s most valuable and closely held assets is its “house

file”: the universe of individuals who associate in some way with the committee. Every individual

in the NRSC’s house file has interacted with or contributed to the committee and has “opted in” to

receive committee communications. Like the RNC and other national political party committees

on both sides of the aisle, the NRSC expends vast resources to build and cultivate its house file.

In the 2021-22 election cycle alone, the NRSC will spend tens of millions of dollars to develop its

house file. Thus, the NRSC house file today represents hundreds of millions of dollars of

investment and more than a decade of effort. It should go without saying that the house file, if

compromised, is not an asset that could be rebuilt in a month – nor in a year, nor even in 5 years.

       The Salesforce platform connects a political party committee such as the NRSC to the

individuals in its house file, allowing the party to communicate directly with its supporters.



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Salesforce therefore contains detailed personal information about these individuals, such as their

personal identifying information, specific topics of interest, past donation information, survey

responses, and more. The Salesforce Subpoena demands this information and more: performance

metrics and analytics related to digital fundraising and messaging; time and message attributes;

login records for the Salesforce Marketing Cloud; and all communications between Salesforce and

representatives of the RNC or Trump Campaign regarding the 2020 election. In other words, what

the Salesforce Subpoena demands is for the company to hand over the “Holy Grail” of the RNC’s

internal digital playbook. The breadth of this request indicates there was no attempt at all to tailor

the subpoena to the needs (whether legitimate or not) of the Committee and therefore it directly

contravenes the special First Amendment protection to which a political party is entitled.

       The First Amendment protects parties’ non-public political messaging strategy.

“[C]ompelled disclosure of internal planning materials…will…frustrate those groups’ decisions

as to ‘how to organize themselves, conduct their affairs, and select their leaders,’ as well as their

selection of a ‘message and the best means to promote that message.’” Am. Fed’n of Labor &

Cong. of Indus. Organizations v. FEC, 333 F.3d 168, 177 (D.C. Cir. 2003) (quoting Eu, 489 U.S.

at 230-31) (alterations adopted). The Salesforce Subpoena demands disclosure of the RNC’s

internal data and digital strategy playbook, substantially burdening the RNC’s associational

autonomy and thereby violating the First Amendment.

       C.     A Party Committee and Its Donors have a Reasonable Expectation of Privacy,
              and Disclosure of Donor Information Can and Will Cause Grave Personal and
              Economic Harm.

       The digital revolution fundamentally changed the way political party committees

communicate with their supporters, and digital platforms such as Salesforce are what makes this

possible. Never in history has a party committee been able to communicate so quickly with so

many of its supporters; now it may do so at the click of a button. These communications are
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fundamental to the right of association between a political party and its supporters, and the

Salesforce Subpoena therefore also burdens the associational autonomy of the RNC’s members,

supporters, donors, and volunteers who are subject to disclosure under the subpoena. Courts have

“long understood as implicit in the right to engage in activities by the First Amendment a

corresponding right to associate with others.” Americans for Prosperity Foundation v. Bonta, 141

S.Ct. 2373, 2382 (2021) (quoting Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984)).

Protected association furthers a wide variety of political, social, economic, educational, religious,

and cultural ends, and is especially important in preserving political and cultural diversity and in

shielding dissident expression from suppression by the majority. Id.

       Political affiliation, specifically, has long been protected, especially in situations where an

individual is punished for such association. Elrod v. Burns, 427 U.S. 347, 355 (1976). And the

prospects for backlash here are real, given this Committee’s track record of leaking information

gathered through its investigations to the press. Jacqueline Alemany, et al., Texting Through An

Insurrection, Washington Post (Feb. 16, 2022),

https://www.washingtonpost.com/politics/interactive/2022/texting-insurrection/; Hunter Walker,

EXCLUSIVE: Leaked Documents Show January 6th Rally VIPs, The Uprising (Oct. 9, 2021),

https://www.theuprising.info/p/exclusive-leaked-documents-show-january?s=r.             Should    the

RNC’s internal Salesforce data become public in the current toxic political environment, the party

supporters whose details are leaked can reasonably expect retaliation.

       The 2020 election was one of the most contentious in American history. Fueled by the

polarizing pressures of partisan media, social media, and deeply rooted cultural, historical, and

regional divides, partisan hostility is at an all-time high while civility is at an all-time low.

According to a national survey conducted by the Cato Institute, more than 77% of Republicans are



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fearful to share their political opinions. Emily Ekins, Poll: 62% of Americans Say They Have

Political     Views   They’re    Afraid    to   Share,    Cato    Institute   (Jul.   22,    2020),

https://www.cato.org/survey-reports/poll-62-americans-say-they-have-political-views-theyre-

afraid-share. More concerning still, over 60% of post-graduate Republicans are concerned that

their employment will be impacted by their political beliefs. Id. This bears repeating: more than

half of these young adults fear that their livelihoods may depend on staying silent about their

political views.

       Sadly these fears are not hypothetical. There is growing support for firing employees based

on political beliefs, with over 50% of strong liberals supporting the firing of executives that

donated to President Donald Trump. Id. Significant evidence shows that individuals are facing

personal and financial repercussions for supporting Republican candidates. See, e.g., Jacob

Maslow, Can Being a Trump Supporter, Get You Fired or Not Hired, LegalScoops (Nov. 25,

2020), https://www.legalscoops.com/can-being-a-trump-supporter-get-you-fired-or-not-hired/.

       Importantly, the Supreme Court has explicitly recognized the threat of reprisal that often

stems from association with groups protected by the First Amendment. Indeed, in 1958, the

Supreme Court prevented disclosure of the membership lists of the National Association for the

Advancement of Colored People (NAACP). In NAACP v. Alabama ex rel. Patterson, 357 U.S.

449, 462 (1958), the state of Alabama sought to require the NAACP to disclose its membership

list. The NAACP refused to turn over the list arguing, correctly, that disclosure of the list would

invite repression of its members. In a unanimous decision, the Supreme Court held that

“[i]mmunity from state scrutiny of petitioner’s membership lists is here so related to the right of

petitioner’s members to pursue their lawful private interests privately and to associate freely with

others in doing so as to come within the protection of the Fourteenth Amendment.” Id. at 466.



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Further, the Court held that freedom to associate with organizations dedicated to the “advancement

of beliefs and ideas” is an inseparable part of the Due Process Clause of the Fourteenth

Amendment. Id. at 460. Justice Harlan wrote that the state’s obtaining the names of the NAACP’s

membership would likely interfere with the free association of its members, so the government

interest in obtaining the records was superseded by the constitutional rights of the petitioners. Id.

at 466.

          So too here. The court in NAACP contended that “[i]t is hardly a novel perception that

compelled disclosure of affiliation with groups engaged in advocacy may constitute as effective a

restraint on freedom of association….” Id. at 462. Indeed, disclosure of the information demanded

by the Salesforce Subpoena to political opponents will subject the RNC’s donors, supporters,

volunteers, and members to the risk of “economic reprisal, loss of employment, threat of physical

coercion, and other manifestations of public hostility.” Id.

          When it comes to “a person's beliefs and associations,” “[b]road and sweeping state

inquiries into these protected areas . . . discourage citizens from exercising rights protected by the

Constitution.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). While certain information

regarding political contributions is subject to public disclosure under the Federal Election

Campaign Act (“FECA”), such as the name, address, and employer and occupation information

for all donors who contribute over $200 in an election cycle, the NRSC’s (and RNC’s) Salesforce

database contains a vast amount of sensitive and non-public information about the committees’

donor communications. For example, the subpoena demands “all . . . engagement metrics,”

meaning all data regarding the ways in which a private individual interacted with a given message:

their clicks, views, responses, and the like. In addition, grassroots donors (those who give less

than $200 in an election cycle), who are the primary focus of digital fundraising, are not publicly



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disclosed under FECA.       These donors – numbering in the hundreds of thousands – have a

reasonable expectation of privacy, as FECA does not require their identities to be publicly

disclosed. Indeed, it is reasonable to conclude that many of these individuals contribute low

amounts precisely for the purpose of maintaining their privacy. Enforcing the Salesforce subpoena

would therefore breach these donors’ privacy rights and would discourage both large and small-

dollar donors from exercising constitutionally protected rights in the future.

       Recently, the Supreme Court invalidated a California statute that required charitable

organizations to submit an unredacted copy of their organization’s Internal Revenue Service

(“IRS”) form 990, Schedule B holding the “…[the] disclosure requirement imposes a widespread

burden on donors associational rights.” Americans for Prosperity, 141 S.Ct. at 2389. Schedule B

is used by tax-exempt organizations to report to the IRS the contributor name, address, and

contribution amount for every person who donated to the organization during its fiscal year. In his

opinion for the majority, Justice Roberts re-emphasized the chilling effect disclosure of private

information has on effective advocacy noting “the vital relationship between freedom to associate

and privacy in one’s associations.” Id. at 2382 (quoting NAACP, 357 U.S. at 462). And unlike in

this case, where the January 6 Committee may make the collected information public in a partisan

“report,” the information in Americans for Prosperity was only privy to the state of California, not

made public. The Court nonetheless held that “each governmental demand for disclosure brings

with it an additional risk of chill.” Id. at 2389. Justice Roberts addressed the Defendant’s argument

that because the state’s disclosure requirement is confidential it does not result in any chilling of

speech: “We are unpersuaded. Our cases have said that disclosure requirements can chill

association “[e]ven if there [is] no disclosure to the general public.” Id. at 2388 (quoting Shelton

v. Tucker, 364 U.S. 479, 231, 247 (1960)).



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       So much more information is at stake in this case than even in Americans for Prosperity.

Not only will non-public identifying information including names, addresses, and contribution

amounts be disclosed, but also other non-public and sensitive details about how individuals interact

with and respond to political messaging. Importantly, the stakes of this case are high for the NRSC

even if it never receives a similar subpoena. Once conservative-leaning individuals learn that their

identities and political preferences are not private and can be “outed” at the whim of a partisan

body, the chilling effect will spread to all prospective conservative donors – not just the RNC’s.

To put it bluntly, enforcement of the incredibly broad Salesforce Subpoena is likely to damage or

destroy Republican prospects for digital fundraising for years to come. And given the makeup of

this Committee, perhaps that is the point.

       Individuals have a reasonable expectation of privacy from disclosure of such information.

There is a vital relationship between freedom of association and privacy in one’s associations.

NAACP, 357 U.S. at 462; see also Katz v. United States, 389 U.S. 347, 351 (1967). Even when

compelled disclosure has been upheld, Courts have repeatedly found that such disclosure can

“seriously infringe on privacy of association” and that “the invasion of privacy of belief may be as

great when the information sought concerns the giving and spending of money as when it concerns

the joining of organizations.” Buckley, 424 U.S. at 64-66. The right to privacy is especially

important for groups who espouse dissident beliefs. NAACP, 357 U.S. at 462. Private information

about individual donors, such as their survey responses and the political topics in which they are

most interested, is the exact kind of information that warrants protection.

       If the Court allows the Committee to obtain the information it requests, there is no doubt

that such disclosure will prevent donors and supporters from showing their support for Republican

causes in the future. This harms the RNC and the NRSC, as both parties rely upon individual



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support to fulfill and fund their political advocacy activity, and ultimately, such compelled

disclosure harms democracy at-large. Courts have long recognized that effective advocacy of both

public and private points of view, particularly controversial ones, is undeniably enhanced by group

association, NAACP, 257 U.S. at 460, which is why it is so pernicious for Democrat politicians

and staff to launch this cynical assault on Republicans by targeting their Salesforce data.

       Given the rising concerns regarding personal and economic retaliation based on political

affiliation, especially among Republicans, broad disclosure of personal, identifying information

will certainly prevent donors and supporters from engaging with both the RNC and NRSC in the

future. This chilling effect is in itself enough to trigger “the protections of the First Amendment”

as was recently explained by the Supreme Court in Americans for Prosperity, 141 S. Ct. at 2389.

       The broad nature of RNC information subpoenaed by the Committee from Salesforce is of

the sort that demands exacting scrutiny under Americans for Prosperity, and must be “narrowly

tailored to the government’s asserted interest.” Id. at 2383. The Committee here is not a law

enforcement agency, so any limited subpoena power that it possesses would need to be in

furtherance of a valid legislative purpose. And then, even if there were a valid legislative purpose,

such substantial interest would need to be narrowly tailored to the subpoena.

       It strains credulity to assert that production of the data and records for tens of millions of

RNC donors and supporters is in any way tailored to the events of January 6th, which the

Committee is supposedly investigating. See, ECF No. 8-2 at ¶¶ 15, 17. In fact, the breathtaking

scope of the subpoenaed information here forces the conclusion that the events of that horrible day

have become a pretext for Democratic politicians and staff to burglarize the Republican party and

rummage through its priceless data, accessing Republican strategy and chilling the participation

of Republican donors and supporters.



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                                         CONCLUSION

       Political party committees, like other non-profit advocacy organizations, are entitled to

First Amendment protection for internal information and donor privacy. Enforcement of the

Salesforce Subpoena would dangerously chill speech across the country, silencing conservatives

who could no longer trust that interactions with and donations to their chosen political party would

remain private.    As the Supreme Court recently reinforced in Americans for Prosperity, a

governmental effort to obtain such information is therefore subject to exacting scrutiny – a

standard that the Salesforce Subpoena is far too broad to meet.

       For the foregoing reasons, the Court should grant Plaintiff’s Motion for Preliminary

Injunction.

       Respectfully Submitted, on March 23, 2022.

                                                   /s/ Charles R. Spies
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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the filing complies with the Local Civil Rules relating to formatting

and page limits, being double-spaced, prepared in 12-point proportionally-spaced font, and not

exceeding the allotted page or word limits.

                                              /s/ Charles S. Spies
                                              Charles S. Spies (Bar ID: 989020)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2022, I caused a true and correct copy of the foregoing

document to be served upon all counsel of record registered with the Court’s ECF system, by

electronic service via the Court’s ECF transmission facilities.


                                              /s/ Charles S. Spies
                                              Charles S. Spies (Bar ID: 989020)




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